                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

 VEGA CAPITAL LONDON LIMITED and
 ADRIAN SPIRES,

        Movants,
                                                     Civil Action No. 1:24-cv-07108
 v.
                                                     Hon. Manish S. Shah
 EXXONMOBIL OIL CORPORATION,

        Respondent.


              VEGA CAPITAL LONDON LIMITED AND ADRIAN SPIRES'
                UNOPPOSED MOTION FOR A BRIEFING SCHEDULE

       Movants Vega Capital London Limited ("Vega") and Adrian Spires ("Spires")

respectfully move for an order setting a briefing schedule for their pending Motion to Compel

Production of Documents. ECF 1. In support of the motion, Vega and Spires state the

following:

       1.      On July 22, 2024, Vega and Spires filed a miscellaneous action in the United

States District Court for the Southern District of Texas and moved to compel ExxonMobil Oil

Corporation ("ExxonMobil") to comply with Vega and Spires' document subpoena. ECF 1. On

the same day, Vega and Spires filed a motion to transfer the miscellaneous action to the United

States District Court for the Northern District of Illinois. ECF 3. On August 1, 2024,

ExxonMobil consented to the motion to transfer. ECF 5.

       2.      On August 5, 2024, the Honorable George C. Hanks ordered that Vega and

Spires' miscellaneous action be transferred to the United States District Court for the Northern

District of Illinois. ECF 7.




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       3.      On August 12, 2024, the transferred miscellaneous action was opened in the

United States District Court for the Northern District of Illinois as Civil Action No. 1:24-07108

and was assigned to this Court.

       4.      Subject to the Court's approval, Vega and Spires have agreed with ExxonMobil to

a proposed briefing schedule under which ExxonMobil's response to the motion to compel will

be due by Monday, August 24, 2024 and Vega and Spires' reply in support of their motion will

be due by Friday, September 13, 2024.

       5.      Counsel for Vega and Spires have conferred with counsel for ExxonMobil about

this motion for a briefing schedule, and ExxonMobil does not oppose it.

       For the reasons stated above, Movants Vega Capital London Limited and Adrian Spires

respectfully request that the Court enter an order granting their unopposed motion and setting a

briefing schedule and all other relief as may be appropriate.

Dated: August 15, 2024

Respectfully submitted,

VEGA CAPITAL LONDON LIMITED
and ADRIAN SPIRES

 By: /s/ Michael P. Kelly                            Shawn M. Taylor
 Michael P. Kelly                                    AKERMAN LLP
 AKERMAN LLP                                         71 S. Wacker Drive, 47th Floor
 750 Ninth Street, N.W., Suite 750                   Chicago, IL 60606
 Washington, DC 20001                                (312) 634-5700
 (202) 824-1716                                      amy.doehring@akerman.com
 michael.kelly@akerman.com                           shawn.taylor@akerman.com


Attorneys for Vega Capital London Limited and Adrian Spires




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